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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS


  THOMAS E. LABRUYERE and ANNETTE )
  LABRUYERE,                      )
                                  )
                   Plaintiff,     )
                                  )                      CIVIL NO. 08-551-GPM
  vs.                             )
                                  )
  TBF, INC., and ROYAL GATE DODGE )
  CHRYSLER JEEP,                  )
                                  )
                   Defendant.     )


                              JUDGMENT IN A CIVIL CASE

         This action came before the Court, District Judge G. Patrick Murphy presiding, and the

  parties have advised that the action has been settled in its entirety.

         IT IS ORDERED that this action is DISMISSED with prejudice.                The parties shall

  bear their own costs.

         DATED: August 17, 2010

                                                         NANCY J. ROSENSTENGEL, CLERK


                                                         By: s/ Linda M. McGovern
                                                                Deputy Clerk



  APPROVED: s/G. Patrick Murphy
            G. Patrick Murphy
            United States District Judge
